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  OF PUBLIC SAFETY, DR. JOHN
  COMPTON, DR. MELISSA VARGO,
  AND HAWAII STATE HOSPITAL

                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  JOSHUA SPRIESTERSBACH,                CIVIL NO. 21-00456 LEK-RT

                    Plaintiff,          ERRATA RE: DEFENDANTS DR. JOHN
        vs.                             COMPTON AND DR. MELISSA
                                        VARGO’S REPLY IN SUPPORT OF
  STATE OF HAWAII, CITY AND             SUBSTANTIVE JOINDER IN
  COUNTY OF HONOLULU,                   DEFENDANT DR. SHARON TISZA’S
  OFFICER ABRAHAM K. BRUHN,             MOTION TO DISMISS COMPLAINT,
  DEPARTMENT OF PUBLIC                  FILED APRIL 28, 2022; EXHIBIT A;
  SAFETY, OFFICE OF THE                 CERTIFICATE OF SERVICE
  PUBLIC DEFENDER, NIETZSCHE
  LYNN TOLAN, MICHELLE       ECF No. 80
  MURAOKA, LESLIE MALOIAN
  JACQUELINE ESSER, JASON
  BAKER, MERLINDA GARMA,
  SETH PATEK, DR. JOHN
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  COMPTON, DR. MELISSA
  VARGO, DR. SHARON TISZA,
  HAWAII STATE HOSPITAL, DR.
  ALLISON GARRETT, and
  JOHN/JANE DOES 1-20,

                     Defendants.


             ERRATA RE: DEFENDANTS DR. JOHN COMPTON AND
         DR. MELISSA VARGO’S REPLY IN SUPPORT OF SUBSTANTIVE
      JOINDER IN DEFENDANT DR. SHARON TISZA’S MOTION TO DISMISS
                     COMPLAINT, FILED APRIL 28, 2022

        Defendants Dr. John Compton and Dr. Melissa Vargo, by and through their

  attorneys, Holly T. Shikada, Attorney General of Hawaii, and Caron M. Inagaki

  and Kendall J. Moser, Deputy Attorneys General, hereby submit page 2 to

  DEFENDANTS DR. JOHN COMPTON AND DR. MELISSA VARGO’S REPLY

  IN SUPPORT OF SUBSTANTIVE JOINDER IN DEFENDANT DR. SHARON

  TISZA’S MOTION TO DISMISS COMPLAINT, filed April 28, 2022 (dkt. 112).

  Page 2, attached as Exhibit A, was inadvertently not included with the Reply at the

  time of filing with this Court.




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        DATED: Honolulu, Hawaii, April 28, 2022.

                                            STATE OF HAWAII

                                            HOLLY T. SHIKADA
                                            Attorney General of Hawaii

                                            /s/ Kendall J. Moser
                                            KENDALL J. MOSER
                                            Deputy Attorney General

                                            Attorney for Defendants
                                            STATE OF HAWAII,
                                            DEPARTMENT OF PUBLIC
                                            SAFETY, DR. JOHN
                                            COMPTON, DR. MELISSA
                                            VARGO, AND HAWAII STATE
                                            HOSPITAL




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